               Case 2:19-cr-00159-RSL Document 154 Filed 01/07/22 Page 1 of 2




 1                                                    THE HONORABLE ROBERT S. LASNIK
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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7
     UNITED STATES OF AMERICA,                        )   No. CR19-159-RSL
 8                                                    )
                      Plaintiff,                      )   MOTION TO FILE OVERLENGTH
 9                                                    )   REPLY IN SUPPORT OF DEFENSE
                 v.                                   )   MOTION TO COMPEL
10                                                    )   PRODUCTION OF CAPITAL ONE
     PAIGE THOMPSON,                                  )   DATA
11                                                    )
                      Defendant.                      )
12                                                    )
13            Paige Thompson, by her attorneys, respectfully requests permission to file a
14   9-page Reply in Support of Motion to Compel Production of Capital One Data.
15   Ms. Thompson’s Reply addresses issues that are important and complex and need to be
16   briefed in detail for this Court’s consideration and for preservation of the record.
17   Counsel have condensed and focused the facts and issues to the best of their ability
18   while still providing the Court with a thorough explanation of the relevant facts and
19   law. As a result, the Reply cannot be adequately briefed within the 6-page limit of
20   Local Criminal Rule 12(b)(5).
21            Accordingly, counsel for Ms. Thompson seeks permission to file a 9- page
22   Reply.
23            DATED this 7th day of January, 2022.
24                                                  Respectfully submitted,
25
                                                    /s/ Mohammad Ali Hamoudi
26                                                  MOHAMMAD ALI HAMOUDI

       MOTION TO FILE OVERLENGTH REPLY                              FEDERAL PUBLIC DEFENDER
       IN SUPPORT OF MOTION TO COMPEL                                  1601 Fifth Avenue, Suite 700
       PRODUCTION OF CAPITAL ONE DATE                                            Seattle, WA 98101
       (U.S. v. Paige Thompson, CR19-159-RSL) - 1                                    (206) 553-1100
            Case 2:19-cr-00159-RSL Document 154 Filed 01/07/22 Page 2 of 2




 1
                                                  /s/ Christopher Sanders
 2                                                CHRISTOPHER SANDERS

 3                                                /s/ Nancy Tenney
                                                  NANCY TENNEY
 4
                                                  Assistant Federal Public Defenders
 5
                                                  /s/ Brian Klein
 6                                                BRIAN KLEIN
 7
                                                  /s/ Melissa Meister
 8                                                MELISSA MEISTER
                                                  Waymaker LLP
 9
10                                                Attorneys for Paige Thompson

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